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 5
      Attorneys for Defendant
 6    NATALIE MIDDLETON

 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:14-cr-00101-AWI-BAM-4
                                                  )
12                      Plaintiff,                )   STIPULATION TO CONTINUE MOTIONS
                                                  )   BRIEFING SCHEDULE AND MOTION
13    vs.                                         )   HEARING; ORDER
                                                  )
14    NATALIE MIDDLETON,                          )
                                                  )   DATE:          June 22, 2015
15                     Defendant.                 )   TIME:          10:00 a.m.
                                                  )   JUDGE:         Honorable Anthony W. Ishii
16                                                )

17           IT IS HEREBY STIPULATED by and between the parties through their respective

18    counsel, Assistant United States Attorney Karen A. Escobar, Counsel for Plaintiff, and Assistant
19    Federal Defender Andras Farkas, Counsel for Defendant Natalie Middleton, that the motion
20    hearing scheduled for May 26, 2015 at 10:00 a.m., before Honorable Anthony W. Ishii may be

21    continued to June 22, 2015 at 10:00 a.m. It is further stipulated that the motions briefing
22    schedule be set as follows:
23           Defendant’s Motion Due:                  April 17, 2015

24           Government’s Response Due :              May 15, 2015
25           Defendant’s Reply Due:                   May 29, 2015
26           Motion Hearing:                          June 22, 2015, at 10:00 a.m.
27           The reason for this continuance request is that defense counsel has been in trial for the
28    past two weeks and was preparing for the trial two weeks prior to that. The trial and motions in
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 1    other matters have also interfered with the preparation of motions. The requested continuance
 2    will conserve time and resources for both parties and the court.
 3             The parties agree that the delay resulting from the continuance shall be excluded in the
 4    interests of justice, including but not limited to, the need for the period of time set forth herein
 5    for effective defense preparation pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii), (iv).
 6
 7                                                   BENJAMIN B. WAGNER
                                                     United States Attorney
 8
 9    Dated: April 1, 2015                           /s/ Karen A. Escobar
                                                     KAREN A. ESCOBAR
10                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff
11
12                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
13
14    Dated: April 1, 2015                           /s/ Andras Farkas
                                                     ANDRAS FARKAS
15                                                   Assistant Federal Defender
                                                     Attorney for Defendant
16                                                   NATALIE MIDDLETON
17
18                                                 ORDER
19             For the reasons set forth above, the continuance requested is granted for good cause. The
20    Court finds that the interest of justice outweighs the interests of the public and the defendant in a
21    speedy trial, and time is excluded pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and (B)(ii), (iv).
22
      IT IS SO ORDERED.
23
      Dated:    April 1, 2015
24
                                                    SENIOR DISTRICT JUDGE
25
26
27
28

      Tid                                               -2-
